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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 ____________________________________
                                     :
 JANE JONES,                         :
                                     :              Civil Action No. 16-7720 (KM) (MAH)
                   Plaintiff,        :
                                     :
       v.                            :
                                     :              AMENDED SCHEDULING ORDER
 PI KAPPA ALPHA INTERNATIONAL :
 FRATERNITY, INC., et. al.,          :
                                     :
                   Defendants.       :
 ____________________________________:

       THIS MATTER having come before the Court for a telephone status conference on
 August 25, 2022;

       and for good cause shown:

       IT IS on this 25th day of August 2022,

       ORDERED THAT:

       1.     On or before September 30, 2022, if a stipulation of dismissal is not filed before
              that date, Plaintiff and Defendant Christian Lopez will file a joint status report
              concerning the progress of their settlement negotiations.

       2.     Counsel for Defendant Korin Levetsanos shall speak with her client concerning
              whether she is willing to provide financial disclosures to Plaintiff’s counsel to
              substantiate her present financial situation relevant to any settlement with
              Plaintiff. Thereafter, counsel for Defendant Levetsanos and Plaintiff’s counsel
              will meet and confer on the disclosures. On or before September 30, 2022,
              Plaintiff and Defendant Korin Levetsanos will file a joint status report concerning
              their progress with the disclosures and settlement negotiations.

       3.     On or before September 30, 2022, Plaintiff will either file a proposed order of
              dismissal of the assigned declaratory judgment claims against third-party
              defendant Liberty Corporate Capital, or notice that she does not intend to do so.

       4.     There will be a Telephone Status Conference on January 11, 2023 at 10:00 a.m.
              The parties will dial 1-888-684-8852 and access code 1456817# to join the
              conference.
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                                         s/ Michael A. Hammer___________
                                         Hon. Michael A. Hammer
                                         United States Magistrate Judge
